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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL
   No.           CV 22-03564-CBM (AS)                                  Date    July 27, 2022
   Title         Roderick Washington v. Shen Jay Fern, et. al.,



   Present: The Honorable        Alka Sagar, United States Magistrate Judge
                 Alma Felix                                                 Not reported
                Deputy Clerk                                         Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                         Not present
   Proceedings (In Chambers):                  SECOND ORDER TO SHOW CAUSE RE
                                               DISMISSAL PURSUANT TO 28 U.S.C. § 1915(g)

       On June 24, 2022, the Court issued an Order to Show Cause (“OSC”) why this action
should not be dismissed pursuant to 28 U.S.C. § 1915(g), based on prior civil actions filed by
Plaintiff (while he was a prisoner) in the United States District Courts of California that qualify
as “strikes” for the purposes of § 1915(g). (Dkt. No. 5). Plaintiff was directed to – on or before
July 25, 2022 - either “pay the full filing fees in this action” or “show cause in writing . . . why
leave to proceed IFP should not be revoked and the action dismissed on the ground that he had
suffered three or more ‘strikes’ within the meaning of 28 U.S.C. § 1915(g).” Id., at 9. Plaintiff
was also warned that “failure to comply with this Order will be deemed by the Court as plaintiff’s
consent to the dismissal of this action without prejudice pursuant to 28 U.S.C. § 1915(g). Id.

       To date, Plaintiff has failed to respond to the Court’s Order, seek an extension of time to
do so, or otherwise communicate with the Court.

      The Court will provide Plaintiff a final opportunity to respond to the OSC issued on June
24, 2022. Accordingly, Plaintiff is ORDERED TO SHOW CAUSE, in writing, no later than
August 10, 2022, why this action should not be dismissed pursuant to 28 U.S.C. § 1915(g).

       If Plaintiff no longer wishes to pursue this action, he may request a voluntary dismissal
pursuant to Federal Rule of Civil Procedure 41(a)(1). A notice of dismissal form is attached for
Plaintiff’s convenience. Plaintiff is again warned that a failure to timely respond to this Order
will result in a recommendation that this action be dismissed with prejudice under Federal Rule
of Civil Procedure 41(b) for failure to prosecute and obey court orders.


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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL
   No.          CV 22-03564-CBM (AS)                                     Date       July 27, 2022
   Title        Roderick Washington v. Shen Jay Fern, et. al.,

         IT IS SO ORDERED.

cc:      Consuelo B. Marshall, United States District Judge


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                                                  Initials of Preparer                AF




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